        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 1 of 30             FILED
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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA


EDUCATION CORPORATION OF
AMERICA, et al.,
                  Plaintiffs,
v.                                             Civ. No. 18-cv-01698-AKK

U.S. DEPARTMENT OF EDUCATION, et al.,

                 Defendants

      UNITED STATES’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
     APPOINTMENT OF A RECEIVER AND FOR INJUNCTIVE RELIEF
             Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 2 of 30



                                           TABLE OF CONTENTS

STATUTORY AND REGULATORY BACKGROUND.........................................2

FACTUAL AND PROCEDURAL BACKGROUND ..............................................3

ARGUMENT .............................................................................................................4

I.      THIS COURT LACKS SUBJECT MATTER JURISDICTION OVER THIS
        ACTION ..........................................................................................................4
     A. There is No Case or Controversy Between Plaintiffs and Education ...........5
     B. Plaintiffs Lack Standing to Sue Education....................................................8
     C. A Private Cause of Action Under the Higher Education Act Does
         Not Exist ........................................................................................................9

II.   THE COURT SHOULD NOT ISSUE AN INJUNCTION ..........................11
   A. Injunctive Relief is Barred by the Anti-Injunction Act and Not Permitted
       by the All-Writs Act ....................................................................................12
   B. Plaintiffs Are Not Likely to Succeed on the Merits of Their Declaratory
       Judgment Claim and So the Requested Injunction Should Not Issue as
       Support for That Claim................................................................................14
   C. Plaintiffs Cannot Establish Irreparable Harm .............................................16
   D. The Public Interest Weighs Heavily Against Any Injunction.....................21

III. A RECEIVER SHOULD NOT BE APPOINTED ........................................23
   A. Plaintiffs Lack Any Valid Substantive Claim Against Education ..............23
   B. The Standards for Appointing a Receiver Have Not Been Met..................24

CONCLUSION ........................................................................................................27




                                                              ii
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 3 of 30




      Plaintiffs have manufactured a dispute with the United States Department of

Education (with defendant Secretary of Education Betsy DeVos acting in her

official capacity, “Education”) in an attempt to establish federal jurisdiction. As

narrowed by a stipulated Order, ECF No. 10 (“Stipulated Order”), Plaintiffs seek

an injunction against third-party creditors (not Education) and propose a

receivership that simulates bankruptcy protection. Plaintiffs are not entitled either

to an injunction or a receivership. First, Plaintiffs cannot establish subject matter

jurisdiction: a live dispute between Plaintiffs and Education does not exist;

Plaintiffs’ complained-of injury is traceable to third-party creditors and not

Education; and the Higher Education Act (“HEA”) does not provide Plaintiffs with

a private cause of action. Second, Plaintiffs are not entitled to a preliminary

injunction against any party because they cannot establish a likelihood of success

on the merits in the absence of subject matter jurisdiction, and also because the

Anti-Injunction Act, 28 U.S.C. § 2283, precludes an injunction against state court

proceedings under these circumstances. Plaintiffs also fail to establish irreparable

harm or that the public interest favors an injunction. Finally, the Court should not

establish a receivership because receiverships are ancillary remedies requiring

additional grounds absent here. For these reasons, the United States, on behalf of

Education, respectfully submits this Opposition to Plaintiffs’ motion for a



                                          1
         Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 4 of 30



temporary restraining order and preliminary injunction (ECF No. 2) (the “Motion”

or “Mtn.”). 1

                STATUTORY AND REGULATORY BACKGROUND

       Title IV of the HEA establishes federal student financial aid programs

through which the government forwards student loan proceeds to eligible higher

education institutions. See 20 U.S.C. § 1070(a). To be eligible, an institution must

meet the HEA Title IV definition of “institution of higher education,” as defined in

20 U.S.C. §§ 1001, 1002. To participate in Title IV programs, an institution must

establish, inter alia, that it is authorized to operate in the state in which it is

located; that it is accredited by a recognized accrediting agency; and that it is

administratively capable and financially responsible. See id. § 1099c. To

demonstrate financial responsibility, an institution must meet certain specified

financial obligations and regulatory measures. See 34 C.F.R. §§ 668.171-668.173.

In the event that an institution ceases operations or faces possible loss of its

licensure, accreditation, or certification, the institution must submit a teach-out

plan specifying how students will be able to complete their degrees. See 34 C.F.R.

§ 668.14(b)(31).




1
  Given the abbreviated timeframe for briefing these issues, the United States reserves the right
to raise additional arguments in response to the Complaint.

                                                 2
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 5 of 30



              FACTUAL AND PROCEDURAL BACKGROUND

      Plaintiffs are higher education institutions that receive Title IV funds. ECF

No. 1 (“Complaint” or “Compl.”) ¶¶ 3-7, 13, 15. Plaintiffs allege that years of

declining enrollment at their institutions have generated significant revenue

shortfalls and exacerbated their financial difficulties. Id. ¶¶ 14, 20. They also

allege that landlords threaten to repossess real estate from which Plaintiffs operate.

Id. ¶¶ 26-27; ECF No. 2-4. On September 5, 2018, Plaintiffs informed the

Department that they would be closing 26 locations but would teach out students

enrolled at those locations, including those students who just began their programs

in the Fall 2018 term. See Declaration of Shari Mecca (“Mecca Decl.”) ¶¶ 13-14

and Exh. B thereto; see also ECF No. 1-2 (listing teach-out schools). Plaintiffs

intend to sell the balance of the schools to a consortium of lenders referred to as

the Monroe Lenders. Compl. ¶ 33.

      On October 16, 2018, Plaintiffs brought the instant action seeking injunctive

relief and the appointment of a receiver. The Complaint contains three counts.

Count I seeks a declaration that Plaintiffs’ restructuring plan and proposed

receivership will not result in adverse determinations by Education under the HEA

and related regulations. Id. ¶¶ 42(a)-(b). Count II seeks a blanket injunction

closely resembling the automatic stay applicable in bankruptcy proceedings. See

id. ¶¶ 43-45; see also 11 U.S.C. § 362(a). Count III seeks the appointment of a


                                          3
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 6 of 30



receiver to oversee Plaintiffs’ affairs, wind down the teach-out schools, and sell

their other schools to the highest bidder. Id. ¶¶ 46-50.

      In the Motion, Plaintiffs also seek the immediate appointment of a receiver

and a long-term, bankruptcy-like stay of creditor actions to protect the receivership

estate. Mot. at 11-15; ECF No. 2-1 (proposed receivership order). In the

Stipulated Order, Plaintiffs agreed not to seek injunctive relief against the United

States and to postpone consideration of their receivership request until the

preliminary injunction hearing on October 29, 2018. Id. Following a hearing on

October 18, 2018, the Court entered a temporary restraining order enjoining certain

landlords (listed on a schedule Plaintiffs submitted to the Court) from asserting

claims or other rights against Plaintiffs. ECF Nos. 12, 14. The injunction

dissolves on October 29, 2018. ECF No. 12.

                                   ARGUMENT

I.    THIS COURT LACKS SUBJECT MATTER JURISDICTION OVER
      THIS ACTION

      This Court lacks subject matter jurisdiction over the Complaint’s claims, and

on this ground all relief requested in the Motion should be denied. Plaintiffs have

not alleged a case or controversy within the meaning of Article III; they lack

standing to sue Education, because Education has not caused any of Plaintiffs’

asserted injuries; and there is no private right of action under the HEA, which is

the sole substantive statute under which Plaintiffs bring this action. “If the court

                                          4
         Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 7 of 30



finds that it does not have subject matter jurisdiction, the court’s sole remaining act

is to dismiss the case for lack of jurisdiction.” Guevara v. Republic of Peru, 468

F.3d 1289, 1305 (11th Cir. 2006) (internal quotation marks and citation omitted);

see also Underwriters at Lloyd’s, London v. Osting–Schwinn, 613 F.3d 1079, 1092

(11th Cir. 2010) (“[O]nce a federal court determines that it is without subject

matter jurisdiction, the court is powerless to continue.”). For this reason, the Court

should determine whether it has subject matter jurisdiction before considering

whether equitable relief is appropriate. GOS Operator, LLC v. Sebelius, 843 F.

Supp. 2d 1218, 1222 n.7 (S.D. Ala. 2012).

        A.      There is No Case or Controversy Between Plaintiffs and
                Education

        A plaintiff seeking “to invoke the jurisdiction of the federal courts must

satisfy the threshold requirement imposed by Article III of the Constitution by

alleging an actual case or controversy.” City of Los Angeles v. Lyons, 461 U.S. 95,

101 (1983). The Declaratory Judgment Act 2 does not permit plaintiffs to bypass

this core constitutional requirement. See Aetna Life Ins. Co. of Hartford, Conn. v.

Haworth, 300 U.S. 227, 239-40 (1937) (holding that declaratory judgment plaintiff

still must establish a case or controversy under Article III). Jurisdiction under the


2
  The Declaratory Judgment Act provides that, “[i]n a case of actual controversy within its
jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations
of any interested party seeking such declaration, whether or not further relief is or could be
sought.” 28 U.S.C. § 2201(a).

                                                   5
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 8 of 30



Act requires a substantial and continuing controversy that is not conjectural,

hypothetical, or contingent. See Malowney v. Fed. Collection Deposit Grp., 193

F.3d 1342, 1346–48 (11th Cir. 1999). The dispute must be “definite and concrete,

touching the legal relations of parties having adverse legal interests”; it must be

“real and substantial”; and it must “admi[t] of specific relief through a decree of a

conclusive character, as distinguished from an opinion advising what the law

would be upon a hypothetical state of facts.” MedImmune, Inc. v. Genentech, Inc.,

549 U.S. 118, 127 (2007) (internal quotation marks and citation omitted).

“Basically, the question in each case is whether the facts alleged, under all the

circumstances, show that there is a substantial controversy, between parties having

adverse legal interests, of sufficient immediacy and reality to warrant the issuance

of a declaratory judgment.” Id. A plaintiff seeking “a declaratory judgment has

the burden of establishing the existence of an actual case or controversy.” Id. at

140 (internal quotation marks and citation omitted).

      Plaintiffs have failed to allege any live dispute between the named parties

(Plaintiffs and Education) and Education is unaware of any. See Mecca Decl. ¶¶

18-20. Thus, this Court lacks the authority to grant any injunctive relief or appoint

a receiver. Lacking any real dispute, Plaintiffs seek to artificially construct one

against Education by contending that they require a definitive construction, under

the Declaratory Judgment Act, of certain provisions of the HEA and associated


                                           6
         Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 9 of 30



regulations. See Compl. ¶ 42(a)-(b).

       But the Complaint lacks any allegation that Plaintiffs and Education disagree

about the construction of the HEA or its implementing regulations. For example,

the Complaint (at ¶ 42(b)) refers to an HEA provision, 20 U.S.C. § 1099c, and

Education’s regulations relating to changes of control, 34 C.F.R. § 600.31(a)(1),

but does not allege that Education has applied this statute or related regulation to

any Plaintiff in a way that any of them considers contrary to law. Moreover,

Plaintiffs could challenge any decision about this issue through administrative

proceedings,3 and if still dissatisfied could seek judicial review of the final

decision under the Administrative Procedure Act, 5 U.S.C. § 702. Here, Education

has not yet made any decision relating to Plaintiffs’ status, much less a final one,

and so any judicial consideration of this issue is not yet ripe. See Burr & Forman

v. Blair, 470 F.3d 1019, 1027 (11th Cir. 2006) (“Blair”) (“The [All Writs] Act does

not create subject matter jurisdiction for courts where such jurisdiction would

otherwise be lacking.”) (citation omitted).

       While Plaintiffs name only Education as a defendant, the true targets of this

litigation—as is evident from even a cursory read of Plaintiffs’ proposed

injunction, ECF No. 2-1—are Plaintiffs’ creditors. Education is a defendant in


3
  Education’s regulations relating to loss of eligibility are set forth at 34 C.F.R. §§ 600.40-
600.41. Regulations governing its administrative procedure relating to loss of eligibility are set
forth at 34 C.F.R. §§ 668.81-668.99.

                                                 7
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 10 of 30



name alone, and then only as a vehicle to establish federal jurisdiction. The

Stipulated Order further demonstrates the absence of an actual controversy

between Education and Plaintiffs by including Plaintiffs’ agreement not to seek

injunctive relief against the United States in this action. Stipulated Order, ¶ 4(b)(i).

      B.     Plaintiffs Lack Standing to Sue Education

      Because the Complaint fails to allege that Education caused Plaintiffs’

alleged injuries, they also lack standing to bring this action. Constitutional

standing under Article III requires a plaintiff to “make three showings: (1) that she

has suffered an injury in fact . . . ; (2) that there is a causal connection between the

injury and the conduct complained of[,] i.e., the injury is fairly traceable to the

defendants’ conduct; and (3) that it is likely that her injury will be redressed by a

favorable decision.” Arnold v. Martin, 449 F.3d 1338, 1341 (11th Cir. 2006)

(internal quotation marks and citation omitted). “[A] federal court [may] act only

to redress injury that fairly can be traced to the challenged action of the defendant,

and not injury that results from the independent action of some third party not

before the Court.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 41-42

(1976).

      Here, third-party creditors, not Education, are allegedly causing Plaintiffs’

putative injuries. Plaintiffs explain that their campuses are “presently the subject

of landlord actions to dispossess ECA . . . and to recover on alleged claims for


                                           8
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 11 of 30



monetary judgments, which are ongoing, as well as other pending and threatened

commercial and employment litigation and arbitration proceedings to which ECA

is a party.” Mtn. at 13. Plaintiffs sought the protection of the federal court

principally to prevent injury (foreclosure and diminution in the value of their

enterprise) arising from these state-court creditor actions. Education has neither

instituted nor threatened Plaintiffs with litigation. Plaintiffs’ injuries “result[] from

the independent action of [] third part[ies] not before the Court.” Simon, 426 U.S.

at 42. Because Plaintiffs cannot establish the causation element of standing, they

cannot establish federal jurisdiction. See Arnold, 449 F.3d at 1341.

      C.     A Private Cause of Action Under the Higher Education Act Does
             Not Exist

      Finally, the Court lacks subject matter jurisdiction because any dispute

against Education by Plaintiffs would arise under the HEA, which does not provide

a private cause of action in favor of Plaintiffs. “Where, as here, a statute provides

administrative remedies, there is a presumption that Congress did not intend to

create a private right of action, but rather provided precisely the remedies it

considered appropriate.” McCulloch v. PNC Bank Inc., 298 F.3d 1217, 1222-23

(11th Cir. 2002). The “federal judiciary will not engraft a remedy on a statute, no

matter how salutary, that Congress did not intend to provide.” California v. Sierra

Club, 451 U.S. 287, 297 (1981). And where a “private entity brings [a] suit for

which no private cause of action has been provided, [the] district court lacks

                                           9
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 12 of 30



subject matter jurisdiction.” Moore v. News Corp., No. 09-CV-2182, 2009 WL

5215407, at *2 (M.D. Fla. Dec. 30, 2009) (internal quotation marks and citation

omitted).

      Here, an “express or implied private right of action to enforce any of the

HEA’s provisions” does not exist. McCulloch v. PNC Bank Inc., 298 F.3d at 1221

(acknowledging that “nearly every court to consider the issue in the last twenty-

five years” has so concluded); Ivey v. Duncan, No. 13-CV-00576, 2016 WL

1452326, at *1 (D.D.C. Apr. 13, 2016) (concluding that the HEA provides no

private right of action against Education); Williams v. Nat’l Sch. of Health Tech.,

Inc., 836 F. Supp. 273, 278-80 (E.D. Pa. 1993) (finding no private right of action

under the HEA against Education), aff’d, 37 F.3d 1491 (3d Cir. 1994).

      Plaintiffs appear to argue that the limited sovereign immunity waiver in the

HEA, see 20 U.S.C. § 1082(a)(2), authorizes their suit against the Secretary

notwithstanding the absence of a private cause of action. Compl. ¶ 10. But courts

have rejected this argument. See Jackson v. Culinary Sch. of Washington, 788 F.

Supp. 1233, 1256 (D.D.C. 1992) (“Plaintiffs argue that the HEA contemplates suits

against the Secretary for failure to fulfill his responsibilities under the Act. See 20

U.S.C. § 1082(a)(2). . . . Upon further review, the Court concludes that the HEA

does not furnish a basis upon which Plaintiffs can assert claims against the

Secretary.”); Ivey, 2016 WL 1452326, at *1. Nor does the Declaratory Judgment


                                          10
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 13 of 30



Act supply a freestanding basis for their HEA claims. See Medtronic, Inc. v.

Mirowski Family Ventures, LLC, 571 U.S. 191, 199 (2014) (“We have long

considered the operation of the Declaratory Judgment Act to be only procedural,

leaving substantive rights unchanged.”) (internal quotation marks and citation

omitted); Aetna Life Ins., 300 U.S. at 240 (holding that “the operation of the

Declaratory Judgment Act is procedural only”); Williams, 836 F. Supp. at 281

(holding that permitting “plaintiffs to proceed in a declaratory judgment action

with the HEA as the source of the underlying substantive law is tantamount to

allowing a private cause of action”).4

       Because there is no live dispute between the parties, because Plaintiffs’

purported injuries are traceable to third party creditors, and because Plaintiffs can

avail themselves of no cause of action under the HEA, the Court lacks subject

matter jurisdiction over—and therefore must dismiss—this action. See

Underwriters, 613 F.3d at 1092.

II.    THE COURT SHOULD NOT ISSUE AN INJUNCTION
       Here, even if the Court had subject matter jurisdiction over the Complaint’s

claims, Plaintiffs have not met the high standard for the issuance of a preliminary

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  Additionally, Plaintiffs’ declaratory relief claim is barred by 20 U.S.C. § 1082(a)(2). Plaintiffs’
request for declaratory relief, Compl. ¶ 42, is more properly construed as a request for injunctive
relief against Education. The sole consequence of a declaratory judgment in Plaintiffs’ favor
would be to require Education to refrain from undertaking certain action adverse to Plaintiffs.
Sovereign immunity has not been waived for such injunctive relief against Education. See 20
U.S.C. § 1082(a)(2) (“[N]o attachment, injunction, garnishment, or other similar process, mesne
or final, shall be issued against the Secretary or property under the Secretary’s control.”).

                                                 11
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 14 of 30



injunction. To obtain a preliminary injunction, a party must demonstrate: “(1) a

substantial likelihood of success on the merits; (2) that irreparable injury will be

suffered if the relief is not granted; (3) that the threatened injury outweighs the

harm the relief would inflict on the non-movant; and (4) that entry of the relief

would serve the public interest.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d

1223, 1225-26 (11th Cir. 2005). “These [last two] factors merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

“A preliminary injunction is an extraordinary and drastic remedy not to be granted

unless the movant clearly establishes the ‘burden of persuasion’ as to the[se] four

requisites.” All Care Nursing Serv., Inc. v. Bethesda Mem’l Hosp., Inc., 887 F.2d

1535, 1537 (11th Cir. 1989)).

      A.     Injunctive Relief is Barred by the Anti-Injunction Act and Not
             Permitted by the All-Writs Act

      The Anti-Injunction Act, 28 U.S.C. § 2283, “prohibits federal courts from

utilizing [their] authority to stay proceedings in state court unless the requirements

of one of three narrow exceptions are met.” Blair, 470 F.3d at 1027. Under the

Anti-Injunction Act, a federal court may not halt a state court proceeding “except

as expressly authorized by Act of Congress, or where necessary in aid of its

jurisdiction, or to protect or effectuate its judgments.” 28 U.S.C. § 2283. “The

Supreme Court has repeatedly emphasized that the lower courts are to interpret



                                          12
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 15 of 30



these exceptions strictly.” In re Bayshore Ford Trucks Sales, Inc., 471 F.3d 1233,

1250 (11th Cir. 2006).

      The All Writs Act, 28 U.S.C. § 1651(a)—which codifies “the long

recognized power of courts of equity to effectuate their decrees by injunctions or

writs of assistance,” Wesch v. Folsom, 6 F.3d 1465, 1470 (11th Cir. 1993)—is

limited in the context of state court injunctions by the Anti-Injunction Act. See

Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1103 n.16 (11th Cir. 2004)

(requiring that All Writs Act and Anti-Injunction Act be read together in the

context of injunctions against state court proceedings). “[I]n general, [a district

court] may not enjoin state court proceedings to protect its ability to render

judgment in ongoing in personam proceedings.” Id. at 1102 (footnotes omitted).

“The All Writs Act and the Anti-Injunction Act are closely related, and where an

injunction is justified under one of the exceptions to the latter a court is generally

empowered to grant the injunction under the former. . . . Thus, in assessing the

propriety of an injunction entered to stop a state court proceeding, the sole relevant

inquiry is whether the injunction qualifies for one of the exceptions to the Anti-

Injunction Act.” Blair, 470 F.3d at 1027-28.

      None of these narrow exceptions applies here. First, Congress has not

“expressly authorized” an injunction against the state court proceedings at issue

here. The second “necessary-in-aid-of-jurisdiction” exception is similarly


                                          13
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 16 of 30



inapplicable. It generally only applies (1) in an in rem proceeding where the

federal court obtains jurisdiction over the res before the state court does or (2) in

proceedings roughly analogous to in rem proceedings such as when enjoining the

state court proceeding is necessary to protect a pre-existing federal court

injunction. Blair, 470 F.3d at 1028-29; In re Bayshore, 471 F.3d at 1250-51.

Neither scenario pertains here. Finally, the third exception, which authorizes

federal courts to issue injunctions to “protect or effectuate its judgments,” is

facially inapplicable. No judgment has been entered here, and so no res judicata

concerns arise. Because Plaintiffs’ attempt to enjoin state court proceedings does

not fall within a recognized Anti-Injunction Act exception, their requested

injunction may not issue.

      B.     Plaintiffs Are Not Likely to Succeed on the Merits of Their
             Declaratory Judgment Claim and So the Requested Injunction
             Should Not Issue as Support for That Claim
      The Declaratory Judgment Act is merely “an enabling Act, which confers a

discretion on the courts rather than an absolute right upon the litigant.” Wilton v.

Seven Falls Co., 515 U.S. 277, 287 (1995) (internal quotation marks and citation

omitted). As this Court has explained, “the decision to hear a declaratory judgment

action is committed to the discretion of the district court.” James River Ins. Co. v.

Ultratec Special Effects, Inc., No. 16-CV-00949, 2017 WL 2652985, at *1 (N.D.

Ala. June 20, 2017). In exercising this discretion, courts “may take into

consideration the speculativeness of the situation before them and the adequacy of
                                         14
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 17 of 30



the record for the determination they are called upon to make, as well as other

factors, such as whether there is a pending procedure in state courts in which the

matters in controversy between the parties may be fully litigated. . . . Unnecessary

interference with state court litigation should be avoided.” Angora Enters., Inc. v.

Condo. Ass’n of Lakeside Vill., Inc., 796 F.2d 384, 387-88 (11th Cir. 1986)

(internal quotation marks and citation omitted).

       Here, Count I’s claim for declaratory relief is the only actual cause of action

alleged in the Complaint.5 Plaintiffs seek a declaration that (1) their proposed

restructuring plan will not interfere with their funding under the HEA “as provided

in 20 U.S.C. § 1001 et seq.” and (2) appointment of a receiver does not constitute a

change in control under 34 C.F.R. § 600.31(a)(1). But there is no evidence of a

disagreement between the parties on either of these issues: Plaintiffs have not

discussed these matters with Education staff, and Education has not reached even a

tentative conclusion about the contemplated restructuring. No administrative

proceedings have taken place. Mecca Decl. ¶ 15. Thus, there is no “definite,

“concrete,” “real,” or “substantial” legal dispute. MedImmune, 549 U.S. at 127.

Instead, Plaintiffs seek an “opinion advising what the law would be upon a



5
  There are only two other counts in Plaintiffs’ complaint. Count II seeks an injunction, but an
“injunction is a remedy, not a separate cause of action.” Advantor Sys. Corp. v. DRS Technical
Servs., Inc., No. 14-CV-533, 2014 WL 3747667, at *4 (M.D. Fla. July 29, 2014). Count III
seeks appointment of a receiver, but that, too, is a remedy and not a cause of action. See infra 23.

                                                15
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 18 of 30



hypothetical state of facts” (the proposed restructuring plan and the requested

receivership). See id.

      The Court should not grant injunctive relief in support of such an

implausible claim. See Wilton, 515 U.S. at 287. First, as explained above, the

dispute is “speculative[].” Angora Enters., 796 F.2d at 387. Plaintiffs had not

consulted Education on these issues before this litigation. Second, the

“[in]adequacy of the record” supplies a further basis for declining to hear this

action. Id. Neither the Complaint nor the Motion provide more than a paragraph

or two regarding the illusory dispute between the parties over the construction of

the HEA and its associated regulations. (Plaintiffs’ declarant does not discuss the

dispute.)

      Finally, and most importantly, the Eleventh Circuit has cautioned that courts

should not employ the Declaratory Judgment Act to “interfere[] with state court

litigation.” Id. at 388. This principle applies both to existing and prospective state

court litigation. Plaintiffs’ principal objective appears to be enjoining pre-existing

and potential state court litigation against non-parties. See Mtn. at 1-2, 12, 15.

The Declaratory Judgment Act should not be weaponized as a means to

unnecessarily enjoin state court actions.

      C.     Plaintiffs Cannot Establish Irreparable Harm
      Plaintiffs have the burden to demonstrate that irreparable harm is likely in

the absence of an injunction; a mere possibility of harm is insufficient. See Winter
                                        16
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 19 of 30



v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). A party must also

demonstrate that the harm is “neither remote nor speculative, but actual and

imminent.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (internal

quotations marks and citation omitted). A harm that is fully compensable by

monetary damages is not irreparable. See Scott v. Roberts, 612 F.3d 1279, 1295

(11th Cir. 2010). The failure to establish irreparable harm is, by itself, a sufficient

ground upon which to deny a preliminary injunction, for “[t]he basis of injunctive

relief in the federal courts has always been irreparable harm and inadequacy of

legal remedies.” Sampson v. Murray, 415 U.S. 61, 88 (1974) (internal quotation

marks and citation omitted).

      Plaintiffs’ apparent failure to pay their lease obligations apparently triggered

the harm about which they express concern, but this harm is self-inflicted. They

have sufficient available cash, budgeted for that purpose, to make these payments.

Declaration of Rhonda Puffer (“Puffer Decl.”) ¶¶ 13-14 and Exhs. D-E. Plaintiffs

also recently represented to Education that they could meet their obligations to

teach out students at the campuses they intended to close through the Fall of 2019

and that they then would have sufficient funds to continue operations at their

remaining campuses. Moreover, until mid-August 2018, Plaintiffs were seeking to

purchase another chain of schools. Mecca Decl. ¶¶ 12-14. These representations

and plans appear inconsistent with the Plaintiffs’ claims of dire financial distress.


                                          17
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 20 of 30



       The core problem with Plaintiffs’ assertions of irreparable harm, however, is

that they have an adequate legal remedy: filing for bankruptcy. Although

Plaintiffs recognize that a bankruptcy filing would imperil their access to Title IV

funds, that does not make the remedy unavailable. “The critical question is

whether there exists an adequate remedy at law, not whether the moving party

prefers one remedy to another.” SME Racks, Inc. v. Sistemas Mecanicos Para,

Electronica, S.A., 243 F. App’x. 502, 503-04 (11th Cir. 2007). Congress designed

the bankruptcy court as the forum to adjudicate the complex debtor-creditor issues

at the center of this proceeding. 6 Plaintiffs seek to have it both ways: they want the

benefits of bankruptcy (the bankruptcy stay and the centralized administration)

without the burdens (the potential loss of federal funding). Given the existence of

an alternative legal remedy here, Plaintiffs cannot establish irreparable harm.

       Plaintiffs assert two types of purportedly irreparable harm: (1) the

dissipation of assets as a result of ongoing litigation, and (2) harm to students due

to disruption of the teach-out process. Mtn. at 23-24; Compl. ¶¶ 36-38. But

neither of these alleged harms qualify as “irreparable harm.” First, the costs of

complying with the law and satisfying judgments do not constitute irreparable

harm. See IMS Health Inc. v. Sorrell, 631 F. Supp. 2d 429, 432 (D. Vt. 2009)

6
  Congress also understood how to make certain entities ineligible for bankruptcy. See 11 U.S.C.
§ 109(b), (d). By allowing for-profit higher educational institutions to obtain bankruptcy relief,
Congress demonstrated that it viewed bankruptcy as an adequate remedy for such entities
struggling with debt.

                                               18
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 21 of 30



(“Spending money to comply with the law is simply a fact of doing business.”); cf.

Am. Hosp. Ass’n v. Harris, 625 F.2d 1328, 1331 (7th Cir. 1980) (“injury resulting

from attempted compliance with government regulation ordinarily is not

irreparable harm.”). Thus, complying with judgments and other court orders is not

a harm that should be considered when weighing irreparable harm. “[I]t is also

well settled that economic loss does not, in and of itself, constitute irreparable

harm.” Packard Elevator v. I.C.C., 782 F.2d 112, 115 (8th Cir. 1986). As such,

Plaintiffs’ litigation costs are an economic loss that do not constitute irreparable

harm. See ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312,

1337 (Fed. Cir. 2012) (“Litigation costs are undoubtedly undesirable and may take

funds away from other endeavors, but they are not an irreparable harm in the

injunction calculus.”).

      Plaintiffs’ argument that an injunction should issue to protect students

proceeds from the false premise that student eligibility for Title IV funds is tied to

an institution’s specific location. When an institution closes or ceases providing

educational programs, the institution becomes ineligible to continue participation

in the Title IV programs. 34 C.F.R. § 668.26. But the students attending that

institution do not lose their individual ability to receive loans from Education

under Title IV. Indeed, under established practices, Education assists students in

obtaining teach-outs from other institutions, and for students who cannot complete


                                          19
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 22 of 30



a teach-out, Education grants discharges of their student loans. 20 U.S.C.

§ 1087(c)(1); 34 C.F.R. § 685.214(a). Further, Title IV does not preclude an

institution from moving to a new location. The only requirement regarding a

change of address is that the institution must notify the Department within 10 days

of the change. 34 C.F.R. § 600.21(a)(2).

      Moreover, the putative harm to students is not relevant to the Motion’s

request for injunctive relief because harms to third parties are not considered when

analyzing irreparable harm. See GOS Operator, LLC v. Sebelius, No. 12-CV-0035,

2012 WL 175056, at *4 n.9 (S.D. Ala. Jan. 20, 2012) (citing Osmose, Inc. v.

Viance, LLC, 612 F.3d 1298, 1307 (11th Cir. 2010)); Moore v. Consol. Edison Co.

of New York, 409 F.3d 506, 511 (2d Cir. 2005) (affirming that “the alleged harm to

third parties did not provide plaintiff a basis for a preliminary injunction” when

analyzing irreparable harm); Alcresta Therapeutics, Inc. v. Azar, 318 F. Supp. 3d

321, 326 (D.D.C. 2018) (holding that injuries to third parties are not a basis to find

irreparable harm). Accordingly, despite Plaintiffs’ protestations that irreparable

harm will befall students in the event that Plaintiffs do not obtain relief in this

Court, any harm to students cannot be considered in the irreparable harm analysis.

       Plaintiffs’ failure to establish irreparable harm is an independent basis on

which to deny their request for injunctive relief. See Sampson, 415 U.S. at 88.




                                           20
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 23 of 30



      D.     The Public Interest Weighs Heavily Against Any Injunction
      Plaintiffs’ proposed injunction and receivership are inconsistent with the

public interest, as this relief appears to be at odds with the remedies and constraints

Congress has imposed on financially troubled schools receiving Title IV funding.

The Higher Education Act requires the institutions to demonstrate on an ongoing

basis that they meet financial responsibility standards that include providing

educational programs for their students and paying their general financial

obligations. 34 C.F.R. § 668.171(a). Companies in distress that cannot meet

Education’s financial requirements for participating in Title IV programs may file

for bankruptcy to obtain stays of actions by their creditors, 11 U.S.C. § 362(a), but

any that do lose their continued eligibility for Title IV funding. 20 U.S.C.

§ 1002(a)(4)(A). In enacting this provision, Congress expressed a concern that

bankruptcy protection could otherwise permit “a school that cannot make loan

refund payments to former students [to] continue to admit new students who in

turn incur student loan obligations [even though that] . . . school may well close or

otherwise cut back its educational program.” S. Rep. No. 102-58, at 19 (1991).

      Eliminating bankrupt schools’ eligibility for Title IV funding is needed to

protect the federal fisc by stopping the flow of federal student aid funds to those

institutions. Shielding Plaintiffs from their creditors via an injunction equivalent to

the Bankruptcy Code’s automatic stay, 11 U.S.C. § 362(a), as a means of

empowering them to avoid the HEA’s consequences for filing bankruptcy, would
                                     21
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 24 of 30



heighten the risk that Plaintiffs’ students could obtain additional Title IV loans that

Education may eventually be required to discharge.

       Moreover, injunctive relief appears unnecessary to protect Plaintiffs’ current

students. First, by Plaintiffs’ own admissions, some landlords provided

concessions which should allow students attending certain locations to continue

their studies. See Mecca Decl., Exh. C. Plaintiffs’ students at 26 locations

apparently may remain there through this academic year. See Mecca Decl. at

¶ 14.7 In the event that some students cannot complete their studies, loan

discharges are available. Although the ultimate drain on the federal fisc resulting

from discharges is not likely to be as great as presented by Plaintiffs, the institution

itself may have exacerbated the issue by enrolling new students in September 2018

at the same time it was failing to make required lease payments. See Mecca Decl.

at ¶ 14.

       Finally, the public interest would not be furthered by enjoining creditors

from pursuing their legal remedies except to the extent Congress authorized and

made automatic such an injunction in bankruptcies. See 11 U.S.C. § 362(a).

Plaintiffs do not contest that they have defaulted on their leases or that the

landlords have rights to pursue monetary judgments and evictions. Plaintiffs


7
  The list of current landlord-tenant litigation provided by Plaintiffs suggests that only one
location, representing approximately 0.9% of Plaintiffs’ student population, is currently at risk
for potential eviction.

                                                22
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 25 of 30



should not be permitted outside of bankruptcy to seek court relief to evade their

own legal obligations to the detriment of creditors with legitimate claims.

III.   A RECEIVER SHOULD NOT BE APPOINTED
       The Court should deny the Motion’s request for appointment of a receiver.

It lacks subject matter jurisdiction, and this alone is sufficient reason to deny this

remedy. Supra 4-11, 14-16. 8 Moreover, receivership is not an appropriate remedy

for the only substantive claim alleged in the Complaint, and the standards for

appointment of a receiver have not been satisfied.

       A.     Plaintiffs Lack Any Valid Substantive Claim Against Education
       A federal court may only appoint a receiver as an ancillary remedy to a valid

substantive claim. “A receivership is only a means to reach some legitimate end

sought through the exercise of the power of a court of equity. It is not an end in

itself.” Gordon v. Washington, 295 U.S. 30, 37 (1935); see Nat’l P’ship Inv. Corp.

v. Nat’l Hous. Dev. Corp., 153 F.3d 1289, 1291 (11th Cir. 1998) (“[T]he

appointment of a receiver in equity is not a substantive right; rather, it is an

ancillary remedy which does not affect the ultimate outcome of the action.”);

Tucker v. Baker, 214 F.2d 627, 632 (5th Cir. 1954) (holding that appointing a

8
  Courts lack power to appoint a receiver when they do not have subject matter jurisdiction. See
Fahey v. Calverley, 208 F.2d 197, 200 (9th Cir. 1953) (holding that where a district court is
“without jurisdiction, the receivership must necessarily fail”); Connecticut Hous. Fin. Auth. v.
Eno Farms Ltd. P’ship, No. 07-CV-319, 2007 WL 1670130, *5 (D. Conn. June 6, 2007)
(“Without jurisdiction, the court has no power over the parties, and thus the lack of subject
matter jurisdiction would have rendered a receivership order void”) (internal citation omitted).


                                               23
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 26 of 30



receiver “is clearly inappropriate . . . for the reason that the receivership can

accomplish no end, but must merely be an end in itself, if there is any reason for

same.”); Garden Homes, Inc. v. United States, 200 F.2d 299, 301 (1st Cir. 1952)

(“[A] receivership is not an end in itself”).

      Application of these principles should prevent appointment of a receiver

here. Plaintiffs have attempted to manufacture claims under the Declaratory

Judgment Act to utilize the only real remedy they seek: a non-party injunction

insulating them from their creditors. Plaintiffs’ putative claims against Education

are unrelated to this remedy, as evidenced by Plaintiffs’ waiver of injunctive relief

against the United States. See Stipulated Order ¶ 4(b)(i). As a receivership

managing Plaintiffs’ affairs is unrelated to the declaratory judgment action against

Education, a receivership is not an appropriate remedy. See Matter of McGaughey,

24 F.3d 904, 907 (7th Cir. 1994) (“[T]he primary consideration in determining

whether to appoint a receiver is the necessity to protect, conserve and administer

property pending final disposition of a suit.”).

      B.     The Standards for Appointing a Receiver Have Not Been Met

      Assuming arguendo that this Court has the power to appoint a receiver,

receivership is still unwarranted here. “[T]he decision to appoint a receiver is an

extraordinary equitable remedy that must only be granted when the interests of the

parties are ‘clearly at risk.’” First Citizens Bank & Trust Co., Inc. v. Bacter Waste


                                           24
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 27 of 30



Sols., LLC, No. 16-CV-300, 2018 WL 1538883, at *3 (S.D. Ga. Mar. 29, 2018)

(emphasis added); see also 12 Charles Alan Wright, Arthur R. Miller & Richard L.

Marcus, Federal Practice and Procedure § 2983 (2d ed. 2008) (“[T]he

appointment of a receiver is not a matter of positive right but rather lies in the

discretion of the court.”).

      When assessing whether a federal equity receivership is appropriate, federal

courts consider the following factors: “(1) the probability that fraudulent conduct

has occurred or will occur; (2) the validity of the claim by the party seeking the

appointment; (3) whether there is an imminent danger that property will be

concealed, lost, or diminished in value; (4) the inadequacy of [alternative] legal

remedies; (5) the lack of a less drastic equitable remedy; and (6) the likelihood that

appointing the receiver will do more good than harm.” U.S. Bank Nat’l Ass’n v.

LG-328 Huntsville, AL, LLC, No. 17-CV-01378, 2017 WL 5668392, at *1 (N.D.

Ala. Nov. 27, 2017) (Kallon, J.) (internal quotations marks and citation omitted)

(denying request to appoint a receiver and noting that such remedy should be

approached with caution); see also Aviation Supply Corp. v. R.S.B.I. Aerospace,

Inc., 999 F.2d 314, 317 (8th Cir. 1993). Plaintiffs’ proposed easy-to-meet standard

for considering appointment of a receiver, see Mtn. at 11-12, cannot be squared

with these strictures.




                                          25
        Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 28 of 30



       None of these relevant factors weigh in favor of receivership here, where

Plaintiff has other remedies readily available to deal with creditors either through

bankruptcy or on a case-by-case basis. Plaintiffs do not allege that they are

engaging in fraud, or that some fraudulent conduct affects their possession or value

of their property. Plaintiffs lack valid claims against Education. Count I (for

declaratory judgment) is the only claim alleged in the Complaint (and Counts II

and III seek only remedies). Declaratory judgment should not issue on Count I for

reasons previously explained. Supra 4-11, 14-16. Actions by incumbent

management are not the alleged cause for decline in asset values (a typical ground

for receivership); 9 instead, non-party landlords and others enforcing their legal

remedies are alleged to cause the decline. Adequate legal and other less drastic

remedies are available to address the problems described in the Motion:

bankruptcy and the resulting automatic stay, supra 21, and retention of Sean M.

Harding (without naming him as receiver) to assist Plaintiffs with managing their

assets. Lastly, the appointment of a receiver may do more harm than good by

saddling Plaintiffs with possible unnecessary fees and expenses.

       In short, the Court should not appoint a receiver because none of the relevant

factors support such an appointment.

9
  E.g., Canada Life Assurance Co. v. LaPeter, 563 F.3d 837, 845 (9th Cir. 2009) (considering the
loss of value to collateral where owner could divert funds); Resolution Trust Corp. v. Fountain
Circle Assocs. Ltd. P’ship, 799 F. Supp. 48, 52 (N.D. Ohio 1992) (finding that damage would
occur because the owners were failing to maintain the property).

                                              26
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 29 of 30



                                  CONCLUSION

      For the foregoing reasons, the Motion should be denied because this Court

lacks subject matter jurisdiction, an injunction should not issue, and a receiver

should not be appointed.

Dated: October 24, 2018                    Respectfully Submitted,

JOSEPH H. HUNT                             /s/ Jonathan E. Jacobson
Assistant Attorney General                 RUTH A. HARVEY
                                           KIRK T. MANHARDT
LANE H. WOODKE                             LLOYD H. RANDOLPH
ED RAGLAND                                 DANIELLE A. PHAM
MARGARET MARSHALL                          JONATHAN E. JACOBSON
Assistant United States Attorneys          (Illinois Bar No. 6317721)
                                           Civil Division
                                           United States Department of Justice
                                           P.O. Box 875, Ben Franklin Station
                                           Washington, DC 20044-0875
                                           Telephone: (202) 353-7971
                                           Email: jonathan.e.jacobson@usdoj.gov

                                           Attorneys for the United States




                                         27
       Case 2:18-cv-01698-AKK Document 19 Filed 10/24/18 Page 30 of 30



                            CERTIFICATE OF SERVICE

      I hereby certify that on October 24, 2018, a true and correct copy of the
foregoing was served on plaintiffs via their counsel of record through the Court’s
Electronic Case Filing (ECF) system.

                                             /s/ Jonathan E. Jacobson
                                             Jonathan E. Jacobson




                                        28
